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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


FLORIDIANS PROTECTING
FREEDOM, INC.,

                    Plaintiff,

     v.
                                       Case No. 4:24-cv-00419-MW-
JOSEPH A. LADAPO, in his official      MAF
capacity as State Surgeon General
and Head of the Florida Department
of Health,

                    Defendant.


DEFENDANT JOSEPH A. LADAPO’S MOTION AND MEMORANDUM
  FOR EXTENSION OF TIME TO FILE ANSWER OR MOTION TO
                       DISMISS
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      1.     Defendant Joseph A. Ladapo respectfully requests a three-week

extension of the deadline to file an answer or motion dismiss. See FED. R. CIV. P.

12(a)(1), (4). The current deadline is November 13, 2024. See ECF 35 (reflecting

October 23, 2024 date of service). With the requested extension, the new deadline

would be December 4, 2024.

      2.     Good cause exists to extend the deadline. See FED. R. CIV. P. 6(b)(1).

And the requested extension will not unduly delay the case. Accordingly, the Court

should grant the motion.

      3.     To begin, an extension is warranted because circumstances have

changed significantly since this case was filed. The election concluded less than one

week ago, and Plaintiff is no longer broadcasting the “Caroline” advertisement on

television. An extension of time is necessary so that Defendant can adequately

assess these changed circumstances and present the Court with a responsive pleading

or motion to dismiss that adequately accounts for them.

      4.     Additionally, an extension is warranted given the extensive pre-Answer

litigation activities that have been occurring in this case. Plaintiff filed this lawsuit

on October 16. Since that time, Defendant has participated in a TRO hearing on

October 17; filed a brief in opposition to a preliminary injunction request on October

22; participated in a preliminary injunction hearing on October 29; and filed

supplemental briefs on November 1 and 4. A modest extension of time is appropriate

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so that Defendant has sufficient time to prepare a filing that will fully account for

the Court’s preliminary injunction ruling and meaningfully assist the Court in

resolving this dispute.

      5.     The requested extension will not prejudice Plaintiff, as the Court has

not yet entered a scheduling order in this case, and no other motions or matters are

pending before the Court. Indeed, the extension is likely to benefit both parties by

providing them with additional time to explore the trajectory of the case in the

aftermath of the election. Finally, Defendant would accede to the Court granting

Plaintiff a comparable extension of time to respond to Defendant’s motion to

dismiss, should such a motion be filed.

      6.     Defendant conferred with Plaintiff’s counsel about this extension

request. See L. R. 7.1(B). Defendant understands that Plaintiff’s counsel has

contacted their client and has not yet determined whether Plaintiff agrees to or

opposes the request. Given the press of time—the motion to dismiss is due tomorrow

absent an extension—it was necessary to proceed with this filing.

      7.     Defendant respectfully requests that the Court extend the deadline for

Defendant to file an answer or motion to dismiss by three weeks, setting the new

deadline on December 4, 2024.




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Respectfully submitted,               Date: November 12, 2024


                                      ASHLEY MOODY
                                       Attorney General
/s/ Brian W. Barnes
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                   Counsel for Defendant Joseph A. Ladapo




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                       CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Local Rule 7.1(F) because,

excluding the parts of the document exempted by the rule, the foregoing

memorandum contains 437 words. This document complies with the type-style

requirements of Local Rule 5.1(C) because this document has been prepared in a

proportionally spaced typeface using the word-processing system Microsoft Word

in 14-point Times New Roman. This document complies with Local Rule 7.1(B)

because I conferred with opposing counsel before submitting the filing. As of the

time of this filing, Plaintiff’s counsel had not yet ascertained their client’s position

on the motion.

      Date: November 12, 2024

                                                    /s/ Brian W. Barnes
                                                    Counsel for Defendant
                                                    Joseph A. Ladapo




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                         CERTIFICATE OF SERVICE

      I certify that on November 12, 2024, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel who have entered an appearance.

      Date: November 12, 2024

                                                  /s/ Brian W. Barnes
                                                  Counsel for Defendant
                                                  Joseph A. Ladapo




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